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UNITED STATES DISTRICT COURT DISTRICT OF COLORA BO
DISTRICT OF COLORADO
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JEFF REY P COLWELL
Civil Action No. 1:17-cv-02530-CMA-KLM , CLER
BY DEP.
KAABOOWORKS SERVICES, LLC CLK
Plaintiff
Vv.
BRIAN PILSL
Defendant

 

DEFENDANT’S MOTION TO RECONSIDER JUDGE’S ORDER
ON PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION

 

Pursuant to Federal Rule of Civil Procedure 60(b)(6), I hereby request that part (b) of
District Judge Christine M. Arguello’s Order on Plaintiff's Motion for Preliminary Injunction
(Doc. 95) ordering me to submit personal electronic devices to Craig Bernard of Cyopsis for
forensic examination be vacated.

According to Federal Rule 26(a)(1)(A) - a party must, without awaiting a discovery
request, provide to the other parties (1) the name of each individual likely to have discoverable
information, along with the subjects of that information, that the disclosing party may use to
support its claims, and (ii) a copy, or a description by category and location, of all documents,
electronically stored information, and tangible things that the disclosing party has in its
possession, custody, or control and may use to support its claims.

Additionally, Federal Rule 26(a)(1)(C) states that a party must make the initial
disclosures at or within 14 days after the parties’ Rule 26(f) conference which was conducted on

February 16, 2018.
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The Plaintiff has provided a Google Drive Audit Report Summary that was conducted on
October 27, 2017 by Craig Bernard of Cyopsis to be used as support for its claims. In contrast to
the requirements of Rule 26 as detailed above, neither the identity of Craig Bernard from
Cyopsis nor the existence of the Google Drive Audit Report Summary was initially disclosed as
was required. |

It is also important to note that in Doc. 87, Magistrate Judge Kristen L. Mix denied the
Plaintiff's Motion seeking extension of Scheduling Order Deadlines saying in part, “...the record
actually demonstrates a complete disregard for the Scheduling Order, not only ignoring Court-
imposed deadlines, but not seeking extensions of those deadlines until long after they passed.”

The Plaintiff is improperly using their Motion for Preliminary Injunction as an extension
of the Scheduling Order and discovery deadlines. The Plaintiff had the Google Drive Audit
Report Summary on October 27, 2017 and knew they would use it to support their claims. The
Plaintiff did not engage in discovery, did not conduct depositions and did not did not formally
bring any purported discovery disputes to the attention of the Court. Federal Rule 37(c)(1) makes
it clear that a party is not permitted to use evidence at trial, at a hearing, or in a motion that was
not disclosed initially as required.

Separately, but of additional importance, Federal Courts have established a set of
accepted computer and electronic device inspection procedures. See Playboy Enterprises, Inc. v.
Welles, No. 3:98-cv-00413-K-JFS (S.D. California), Northwest Airlines, Inc. v. Local 2000
International Brotherhood of Teamsters, AFL-CIO, et al, No. 0:00-cv-00008-DWF-AJB (D.
Minnesota), and Simon Property Group , L.P. v. MySimon, Inc., No. IP 99-1195-C (S.D.

Indiana). The procedure ordered by the court in each case was:
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(a) The parties shall agree on a neutral, third-party expert, who will actually carry out the
inspection
(b) The parties shall agree on the scope of the inspection, including target devices,
targeted data collections, targeted date ranges, search terms or other scope-defining
criteria
(c) The parties shall agree on the form of the eventual production
(d) The expert creates a “‘mirror image” of the devices using accepted forensic procedures
that preserve the integrity of the original evidence
(e) The expert executes the search on the “mirror image” and identifies relevant data
according to the agreed-upon specifications
(f) The expert turns over responsive data to the respondent’s counsel
(g) The respondent reviews the responsive data for relevance and privilege
(h) The respondent produces the relevant, non-privileged data to the requesting party in
the form agreed upon by the parties
The Plaintiff admitted that Craig Bernard of Cyopsis received compensation for
performing forensic analysis of electronic devices and/or electronic data in at least three separate
litigations in which KAABOO is the Plaintiff. Further, Craig Bernard, as a witness during the
hearing for preliminary injunction was ambiguous when answering under cross examination as to
whether or not he had performed additional forensic work for the Plaintiff. Because of this, there
is no possible way that Craig Bernard and Cyopsis can be considered a neutral third-party.
Forgetting the fact that the Plaintiff did not disclose its evidence as required by Rule 26,
an order for me to turn over my personal electronic devices to Craig Bernard of Cyopsis would

most certainly provide the Plaintiff access to information that is protected by attorney-client
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privilege, information that is protected for trial preparation and my personal information that is
protected from unconstitutional invasions of privacy. There simply is no justification for an
order to turn over my personal electronic devices for examination when there are less invasive
ways to provide information. There is also no justification to set aside the set of accepted
computer and electronic device inspection procedures established by Federal Courts.

Federal Rule 26(b)(2)(C) states the court must limit the frequency or extent of discovery
if it determines that (i) the discovery sought is unreasonably cumulative or can be obtained from
some other source. The Plaintiff has already shown that it has obtained its evidence without the
need to inspect my personal devices. Any additional inspection of my personal devices would
only lead to show that at some point in time, I had downloaded the files during the course of my
work for KAABOO. This fact has already been established by way of their Google Drive Audit
Summary. Therefore, there is no need for this duplicative effort.

Federal Rule 26(b)(2)(C) states also states that the court must limit the frequency or
extent of discovery if it determines that (ii) the party seeking discovery had ample opportunity to
obtain the information by discovery in the action. Obviously, the Plaintiff had its evidence prior
to the Scheduling Conference on February 16, 2018, prior to the close of discovery on June 15,
2018 and prior to filing its Motion to Amend the Scheduling Order (Doc. 71) on August 1, 2018
and its subsequent Reply (Doc. 75) filed on September 4, 2018. The Plaintiff has had more than
ample time and opportunity to seek an inspection of my personal electronic devices during the
discovery process and beyond.

Finally, as has been requested by the Plaintiff on multiple occasions, I have destroyed all

KAABOO trade secret and confidential information and do not have any KAABOO trade secret
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or confidential information in my possession or control. The Plaintiff has asked me to do this
and it was done long ago.

For the reasons set forth above, I respectfully request that this Court set aside part (b) of
Doc. 95, District Judge Arguello’s Order for me to submit personal electronic devices to Craig

Bernard of Cyopsis.

Dated: November 14, 2018

Respectfully Submitted,
Brian Pils] Defendant, pro se

Brian Pilsl
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CERTIFICATE OF SERVICE

I hereby certify that on this 14th day of November, 2018, the foregoing DEFENDANT’S
MOTION TO RECONSIDER JUDGE’S ORDER ON PLAINTIFF’S MOTION FOR
PRELIMINARY INJUNCTION was filed with the Clerk of the Court, United States District

Court, District of Colorado and a copy mailed to the individual listed below:

Jon Olafson

Lewis Brisbois

1700 Lincoln Street
Suite 4000

Denver, Colorado 80203

wy. —— PE

Defendant, pro se
